                     Case 1:23-cr-00368-TNM                  Document 77            Filed 01/08/25           Page 1 of 15
     UNITED STAGES COURT OF appealPn,ted STATES COURT OF Appeals
  ' Rr'n r',r-TRiCT OF COLUMBIA CIRCUIT DISTRICT OF COLUMBIA CIRCUIT
                                                        333 Constitution Avenue, NW
               DEC 2 6 2024                             Washington, 0020001-2866
                                                Phone: 202-216-7000 | Facsimile: 202-219-8530


                oclVED
              United States of America                                             USCANo. 24-3171




             Justin Lee
                                                                                  USDCNo. 1 ;23-cr-00368-TNM


                                                 MOTION FOR LEAVE TO PROCEED
                                                 ON APPEAL IN FORMA PAUPERIS


               I, Justin Lee
              r-         M */ *7------------ ------------------ --------------------- ------------------------ , declare that I am the
              (? appellant/petitioner        r appellee/respondent in the above-entitled proceeding. In support
             of this motion to proceed on appeal without being required to prepay fees, costs or give security
             therefor, I state that because of my poverty I am unable to prepay the costs of said proceeding
             or to give security therefor. My affidavit or sworn statement is attached.




            I believe I am entitled to relief. The issues that I desire to present on appeal/review are as
            follovvs: {Provide a statement of the issues you will present to the court. Attach an additional
            sheet if necessary.)

             See attached sheet.




             Signature

            Name of Pro Se Litigant          Justin Lee

            Address            14117 Chinkapin Drive, Rockville, MD 20850




            Submit original with a certificate of service to:


                                                      Clerk of Court
                                                      United States Court of Appeals
                                                        for the District of Columbia Circuit
                                                      E. Barrett Prettyman U.S. Courthouse, Room 5523
                                                      333 Constitution Avenue, N.W.
                                                      Washington, DC 20001
                                                                      -1-

USCA Form 31
Rev. December 2018
                     Case 1:23-cr-00368-TNM         Document 77         Filed 01/08/25      Page 2 of 15
                                     United States court of Appeals
                                      District of Columbia Circuit
                                                333 Constitution Avenue, NW
                                                Washington, DC 20001-2866
                                        Phone: 202-216-7000 | Facsimile: 202-219-8530




          United States of America                                   USCA No. 24-3171


                            V.


          Justin Lee                                                 USDC No. 1:23-cr-00368-TNM




                                       AFFIDAVIT ACCOMPANYING MOTION FOR
                                     PERMISSION TO APPEAL IN FORMA PAUPERIS



           Affidavit in Support of Motion                          Instructions

           I swear or affirm under penalty of perjury              Complete all questions in this application
           that, because of my poverty, I cannot                   and then sign it.       Do not leave any
           prepay the docket fees of my appeal or                  blanks: if the answer to a question is "0,"
           post a bond for them.     I believe I am                "none," or "not applicable (N/A)," write in
           entitled to redress.   I swear or affirm                that response. If you need more space to
           under penalty of perjury under United                   answer a question or to explain your
           States laws that my answers on this form                answer, attach a separate sheet of paper
           are true and correct. (28 U.S.C. § 1746;                identified with your name, your case's
           18 U.S.C. § 1621.)                                      docket number, and the question number.




           Signed:                                                 Date:            12/18/2024



           My issues on appeal are:     See attached sheet.




                                                             -1-
USCA Form 31
Rev. December 2018
                  Case 1:23-cr-00368-TNM        Document 77          Filed 01/08/25         Page 3 of 15

          1. For both you and your spouse estimate the average amount of money received from each of
          the following sources during the past 12 months. Adjust any amount that was received weekly,
          biweekly, quarterly, semiannually, or annually to show the monthly rate. Use gross amounts, that
          is, amounts before any deductions for taxes or otherwise.

                                                    Average monthly               Amount expected
                                                    amount during the
                                                                                   next month
          Income source                              past 12 months

                                                    You       Spouse        You               Spouse

          Employment                           0              N/A           0                  N/A

          Self-employment                      0              N/A           0                  N/A

                                                    You        Spouse            You            Spouse
                                                                                       <r
          Income from real property                                                             N/A
                                               0              N/A            0
            (such as rental income)

          Interest and dividends               0              N/A           0                   N/A

          Gifts                                0              N/A           0                   N/A

          Alimony                              0              N/A            0                  N/A

           Child support                       0              N/A           0                  N/A
           Retirement (such as social
           security, pensions, annuities,      0              N/A           0                   N/A
           insurance

           Disability (such as social                                        0                  N/A
                                                0              N/A
           security, insurance payments)

           Unemployment payments               0              N/A            0                  N/A

           Public-assistance (such as                                        0                  N/A
                                               0              N/A
            welfare)

                                               0              N/A            0                  N/A
           Other (specify):


                      Total monthly Income:    0              N/A           0                   N/A




                                                            -2-



USCA Form 31
Rev. December 2018
                     Case 1:23-cr-00368-TNM             Document 77           Filed 01/08/25     Page 4 of 15
          2. List your employment history for the past two years, most recent employer first. (Gross
          monthly pay is before taxes or other deductions.)
          Employer                 Address                           Dates of employment          Gross monthly pay

           Montgomery               101 Monroe St.                    1/28/22 -10/19/23               $4,000.00

           County Mb                Rockville, MD 20850



           3. List your spouse's employment history for the past two years, most recent employer first.
           (Gross monthly pay Is before taxes or other deductions.)
           Employer              Address                       Dates of employment  Gross monthly pay

           N/A                      N/A                                N/A                            N/A




           4. How much cash do you and your spouse have?                $1,500.00
           Below, state any money you or your spouse have In bank accounts or In any other financial
           Institution.

           Financial Institution            Type of Account              Amount you have         Amount your spouse has

            PNC Bank                         Checking                        $1,500.00            N/A




           If you are a prisoner, seeking to appeal a judgment in a civil action or proceeding,
           you must attach a statement certified by the appropriate institutional officer showing
           aii receipts, expenditures, and baiances during the iast six months in your
           institutionai accounts. If you have multiple accounts, perhaps because you have
           been in muitiple institutions, attach one certified statement of each account.

           5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and
           ordinary household furnishings.
           Home (Value)            Other real estate(Value)          Motor Vehicle #1 N/A                   (Value)

            N/A                      N/A                             Make & Year:        N/A

                                                                     Model:              N/A

                                                                     Registration #:     N/A

            Motor Vehicle #2 N/A                            Other Assets (Value)               Other Assets (Value)

            Make & Year:       N/A                            None                             None

            Model:             N/A

            Registration #:    N/A

                                                               -3-
USCA Form 31
Rev. December 2018
                     Case 1:23-cr-00368-TNM        Document 77             Filed 01/08/25   Page 5 of 15
        6. State every person, business, or organization owing you or your spouse money, and the
        amount owed.
          Person owing you or                Amount owed            Amount owed to
          your spouse money                  to you                  your spouse

               N/A                                N/A                           N/A




        7. State every person, business, or organization to whom you or your spouse owes money,
        the nature of the indebtedness, and the amount owed.
           Person to whom you or your            Nature of indebtedness             Amount owed
           spouse owe money                   (e.g., mortgage, credit card)       by you   by spouse
            N/A                                  N/A                                  N/A          N/A




        8. State the persons who rely on you or your spouse for support.
           Name [or, if under 18, initials only]               Relationship.                    Age

             N/A                                                     N/A                         N/A




         9. Estimate the average monthly expenses of you and your family. Show separately the
         amounts paid by your spouse. Adjust any payments that are made weekly, biweekly,
         quarterly, semiannually, or annually to show the monthly rate.
                                                               You               Spouse
         Rent or home-mortgage payment
         (Include lot rented for mobile home)           N/A                     N/A

         Are real-estate taxes included?                C Yes          0 No

         Is property insurance included?                o Yes          (5> No
                                                               You               Spouse
         Utilities (electricity, heating fuel,          0                       N/A
         water, sewer, and telephone)
         Home maintenance (repairs and                  0                       N/A
         upkeep)

                                                              -4-
USCA Form 31
Rev. December 2018
                     Case 1:23-cr-00368-TNM       Document 77       Filed 01/08/25   Page 6 of 15

                                                                  You                   Spouse

          Food                                                $200.00                 N/A

          Clothing                                            0                       N/A

          Laundry and dry-cleaning                                                    N/A

          Medical and dental expenses                                                 N/A

          Transportation (not including motor                 $100.00                 N/A
          vehicle payments)

           Recreation, entertainment,                                                 N/A
           newspapers, magazines, etc.

           Insurance (not deducted from wages
           or Included In mortgage payments)
                 Homeowner's or renter's                                              N/A

                 Life                                                                 N/A

                 Health                                       $10.00                  N/A

                 Motor Vehicle                                                        N/A

               Other: N/A________________                                             N/A

           Taxes (not deducted from wages or                                          N/A
           included in mortgage payments)

               (specify)       ______ ________

           Installment payments

                 Motor Vehicle                                                         N/A

               Credit card (name): ^/A                                                 N/A

                 Department store                                                      N/A

               (name): N/A       _______

               Other: N/A                                                              N/A

           Alimony, maintenance, and support                                           N/A
           paid to others
           Regular expenses for operation of
           business, profession, or farm                                               N/A
            (attach detailed statement)

            Other(specify): N/A____________                                            N/A

                        Total monthly expenses:               $310.00                  N/A

                                                        -5-
USCA Form 31
Rev. December 2018
                     Case 1:23-cr-00368-TNM         Document 77       Filed 01/08/25     Page 7 of 15

           10. Do you expect any major changes to your monthly income or expenses or in your
           assets or liabilities during the next 12 months? O Yes (•> No
           If yes, describe on an attached sheet.


           11. Have you paid-or will you be paying-an attorney any money for services in
           connection with this case, including the completion of this form? O Yes (?) No
           If yes, how much?        N/A
           If yes, state the attorney's name, address, and telephone number:

            N/A




           12. Have you paid-or will you be paying-anyone other than an attorney (such as a
           paralegal or a typist) any money for services in connection with this case, including the
           completion of this form? [vfo
            If yes, how much?       N/A

           If yes, state the person's name, address, and telephone number:

            N/A




           13. Provide any other information that will help explain why you cannot pay the docket fees
           for your appeal.
            N/A




           14. State the city and state of your legal residence.

            Rockville, MD


           Your daytime phone number:       ( 301 ) , 201-6821

           Your age:. 27                  Your years of schooling:. 16




                                                            -6-
USCA Form 31
Rev. December 2018
     Case 1:23-cr-00368-TNM          Document 77       Filed 01/08/25      Page 8 of 15



 IN THE UNITED STATES COURT OF APPEALS FOR THE DISTRICT OF
COLUMBIA CIRCUIT
UNITED STATES OF AMERICA :


V.


                                                               USCA Case No: 24-3171

                                              USDC Case No: 1:23-cr-00368-TNM
JUSTIN LEE



                DEFENDANT JUSTIN LEE,S ISSUES FOR APPEAL
       Justin Lee, defendant, pro se, provides issues for appeal.

      1. Belief that court erred in its guilty finding of Assaulting, Resisting, or
Impeding Certain Officers under 18 U.S.C. 111(a)(1).

        The defendant believes that an assault as defined in common law is a required
element of the offense. The court specifically found the defendant not guilty of that
offense. There is currently a split in the federal circuits regarding whether an assault as
defined in common law is required for a guilty verdict under this statute; the DC Circuit
has not yet addressed this issue. The position taken by 3 courts of appeal favors the
defendant's interpretation. Based on the defendant's reading of the statute, being found not
guilty of any assault is a complete defense to the felony conviction of assault on a law
enforcement officer as found under this statute.

        Additionally, the defendant believes the Government failed to prove, as an
element of the offense, that the victim was designated in Sec. 1114 of Title 18. In that
section, the victim must be an officer or employee of the United States or “assisting such
officer.” The Government did not prove substantively that Officer Jason Sterling, an
officer employed by the Metropolitan Police Department, was assisting a specific officer
or employee of the United States at the time of the underlying conduct.
       2. Belief that court erred in its guilty finding of Civil Disorder under 18
U.S.C. 231(a)(3).

     The defendant believes conviction under the statute is inconsistent with the First
Amendment. The defendant believes the tossing of the smoke bomb was inherently
    Case 1:23-cr-00368-TNM           Document 77         Filed 01/08/25      Page 9 of 15



expressive activity protected by the First Amendment and that the statute is
unconstitutional as applied.

        The statute gives overly broad latitude to police and prosecutors to charge an
individual for “any act” which “interferes.” The throwing of a smoke bomb, which the
court found in this instance to not be an assault, is inherently expressive conduct. As used
in a protest, a smoke device creates smoke for visual effect and symbolic value, serving
as a basic expression of grievances of those present. They are commonly seen and even
thrown at protests.

        The statute too easily captures “inherently expressive conduct,” such as tossing a
smoke device in a protest, which is often done to criticize the conduct of police officials
or the government which employs them. The defendant believes that in any other protest
environment, no officer nor prosecutor would have exercised their discretion to use this
charge. The statute is a relic of the harsh crackdowns of the civil rights era meant to
quash dissent, as evident by the law’s legislative history.
        Furthermore, the evidence is legally insufficient to prove the charge. No
interference with the officer's performance of their duty was demonstrated and the
Government's insistence that the defendant's actions aided and abetted the unlawful
actions of other individuals was summarily rejected by the court. Merely finding that the
defendant may have had an intent to make the officers’ job harder is not a standard for
guilt under the statute.

        By its own terms, the statute authorizes criminal penalties for “any act,” whether it
be speech or expressive conduct, intended merely to “interfere with” an officer engaged
in the performance of duty. This language is overly broad enough to include speech or
expressive conduct which criticizes or challenges the manner in which police officers
discharge their duties.

        Additionally, the defendant believes a sufficient showing has not been made that
the civil disorder at the Capitol substantially affected interstate commerce. The
Government introduced evidence that a single grocery chain’s sales were reduced on
January 6th. But this did not prove that the civil disorder was the cause of lost sales. There
was no evidence that the disorder blocked highway traffic, prevented the movement of
any article or commodity in commerce, or otherwise had a substantial effect on
commercial or economic activity.

       As a whole, no defendant's First Amendment activity contained solely to public
property tradtionally open to the public and widely considered to be a traditional public
forum can reasonably expect to account for a citywide curfew being announced with
which commerce may be affected when weighing the legality of their actions.
   Case 1:23-cr-00368-TNM           Document 77         Filed 01/08/25      Page 10 of 15



       3. Belief that court erred in its guilty finding of Entering and Remaining in a
Restricted Building or Grounds under 18 U.S.C. 1752(a)(1).
        The defendant aligns with the arguments presented for the defendant in United
States V. Griffin (No. 22-3042) currently working its way to SCOTUS and which the
defendant believes will result in the reversal of the Government's interpretation of statute.
As with Griffin, the defendant believes that knowledge of the Vice President's presence is
a required element of the offense; the Government did not prove the defendant's
knowledge of the Vice President's presence.

     4. Belief that court erred in its guilty finding of Disorderly and Disruptive
Conduct in a Restricted Building or Grounds under 18 U.S.C. 1752(a)(2).
        The defendant believes conviction under the statute is questionable given the
court's unfactual determinations of the defendant's actions and the Government's
attribution of conduct of other individuals to the defendant. The court included secondary
actions from the defendant in its determination of the character of the defendant's
conduct, to include the throwing of "rock-like objects" and the use of a flashlight.
        The court erroneously attributes the objects to be "rock-like" despite providing no
evidence nor testimony aside from singular stills from shakey videos and photographs.
No evidence was ever provided to counter the defendant's statements as to the mundane
nature of the objects, nor was physical contact with officers even alleged. Similarly, the
court falsely attributes a flashlight used by the defendant to have been of a strobe function
despite this being factually untrue based on Government exhibits. The court also affirmed
the Government's claim that the flashlight was used to disorientate despite producing no
victim to testify as such nor providing any evidence to counter the defendant's statement
that the flaslight was being used solely for a utilitarian purpose 16 minutes before sunset
on a cloudy day.

        Additionally, the statute mandates as an element of the offense that the
defendant’s conduct “in fact” impeded or disrupted the orderly conduct of Government
business or official functions. There's no evidence that the defendant’s conduct in fact
delayed completing the electoral certification. If the defendant had not been there at all,
nothing different would have happened. His conduct outside the Capitol in fact did not
delay the proceedings inside the Capitol.

      5. Belief that court erred in its guilty finding of Disorderly Conduct in a
Capitol Building under 40 U.S.C. 5104(e)(2)(D).

        For all the reasons cited with respect to Sec. 1752(a)(2), the evidence was
insufficient to sustain a conviction under this statute as well.

       A more substantive explanation of the issues can be found in the defendant's
 Case 1:23-cr-00368-TNM         Document 77       Filed 01/08/25     Page 11 of 15




                         CERTIFICATE OF SERVICE
  I HEREBY CERTIFY that the foregoing Motion For Leave To Proceed In Forma
Pauperis was filed on December 19, 2024, via certified mail, and a physical copy was
                                    served on:


             Adam Michael Dreher, Esq. & Matthew E. Vigeant, Esq.
            United States Attorney’s Office for the District of Columbia

                                 601 D Street, NW
                             Washington, D.C. 20053




                                                                       -H   Justin Lee
    Case 1:23-cr-00368-TNM          Document 77       Filed 01/08/25      Page 12 of 15




                                            Olaurt of
                             For The District of Columbia Circuit



No. 24-3171                                                 September Term, 2024
                                                                       1:23-cr-00368-TNM-1
                                                   Filed On: December 6, 2024 [2088290]
United States of America,

               Appellee

       V.

Justin Lee,

               Appellant

                                         ORDER

      Appellant was represented by retained counsel before the district court, and the
$605 appellate docketing and filing fees for this appeal have been paid. Upon
consideration of the foregoing, it is, on the court's own motion,

      ORDERED that by January 6, 2025, appellant either (1) have new retained
counsel enter an appearance in this court on appellant's behalf, (2) inform the court that
he wishes to proceed on appeal without counsel, or (3) request the appointment of new
counsel if he cannot afford to retain one. If appellant cannot afford to retain new
counsel and wishes to have counsel appointed for the appeal, it is

        FURTHER ORDERED that by January 6, 2025, appellant complete and submit
to this court, for transmittal to the district court, a motion for leave to proceed on appeal
in forma pauperis. See Fed. R. App. P. 24(a)(1). In the event the district court denies
the motion to appeal in forma pauperis, appellant may renew the request in this court.
See Fed. R. App. P. 24(a)(5).

         A request for appointment of counsel does not relieve appellant of the obligation
to file responses to any motion filed by appellee or to comply with any order issued by
the court, including a briefing schedule. Failure by appellant to respond to a dispositive
motion or comply with any order of the court, including this order, may result in
dismissal of the case for lack of prosecution. See D.C. Cir. Rule 38.

       The Clerk is directed to send a copy of this order, an entry of appearance form,
and a blank motion for leave to proceed on appeal in forma pauperis form to appellant
by certified mail, return receipt requested, and by first class mail.

                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk
    Case 1:23-cr-00368-TNM        Document 77          Filed 01/08/25   Page 13 of 15




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                           For The DisimcT of Columbia Circuit



No. 24-3171                                                September Term, 2024

                                                 BY:     Is/
                                                         Emily K. Campbell
                                                         Deputy Clerk

The following forms and notices are available on the Court's website:

Attachments:
      Motion for Leave to Proceed on Appeal in Forma Pauperis
      Entry of Appearance Form




                                        Page 2
            Case 1:23-cr-00368-TNM             Document 77          Filed 01/08/25        Page 14 of 15

                               United States Court of Appeals
                                District of Columbia Circuit
                                            333 Constitution Avenue, NW
                                             Washington, DC 20001-2866
                                    Phone: 202-216-7000 | Facsimile: 202-219-8530



 Case Caption:

                                        V.                               Case No:



                                          ENTRY OF APPEARANCE

The Clerk shall enter my appearance as C Retained C Pro Bono O Appointed (CJA/FPD) C Gov't counsel
for the r Appellant(s)/Petitioner(s) P Appellee(s)/Respondent(s) P Intervenor(s) P Amicus Curiae below:

                                                Party Information
                (List each represented party individually - Use an additional blank sheet as necessary)




                                              Counsel Information
Lead Counsel:

                                                                    Email:
Direct Phone: (___ )                   Fax: (___ )
2nd Counsel:

                                                                    Email:
Direct Phone: (___ )                  Fax: (___ )
3rd Counsel:

                                                                    Email:
Direct Phone: (___ )                  Fax: (___ )
Firm Name:

Firm Address:

                                                                    Email:
Firm Phone: (___ )                    Fax: (___ )

Notes: This form must be submitted by a member of the Bar of the U.S. Court of Appeals for the D.C. Circuit.
Names of non-member attorneys listed above will not be entered on the court's docket. Applications for
admission are available on the court's web site at http://www.cadc.uscourts.gov/.

USCA Form 44
March 2017 (REVISED)
             CERTIFIED MAIL
      Case 1:23-cr-00368-TNM
                       Document 77        Filed 01/08/25   Page 15 of 15           U.S. POSTAGE PAID
                                                               Retail              FCM LG ENV
                                                                                   GAITHERSBURG, MD 20898

Ml)                                                                                DEC 19, 2024



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